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UNITED STATES DISTRICT COURT
DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,

Plaintiff, INDICTMENT
v. 18 U.S.C. § 1343
18 U.S.C. § 1028A
MOJEED ADEROJU YINUSA, 18 U.S.C. § 1030(a)
Defendant.

THE GRAND JURY CHARGES THAT:

Introduction
1. At times relevant to the Indictment:
a. Defendant Mojeed Aderoju Yinusa was a resident and citizen of
Nigeria.
b. Company A was a company in the business of running an

autobody repair shop. Company A was based in Hermantown, Minnesota.

C. Individual T.D. was the owner of Company A and a Minnesota
resident.

d. National Bank of Commerce was a bank based in Superior,
Wisconsin.

e. Company A and T.D. maintained multiple business bank

accounts with National Bank of Commerce, including accounts ending in 5038 and
7118 ( “Account 5038” and “Account 7118”).

f. Individual J.S. was a U.S. person and a West Virginia resident.

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The Scheme to Defraud

2. Paragraph 1 is re-alleged as if set forth herein.

3. Beginning in or about February of 2023, in the State and District of
Minnesota, and elsewhere,

MOJEED ADEROJU YINUSA,

did knowingly devise and participate in a scheme and artifice to defraud and to obtain
money by means of materially false and fraudulent pretenses, representations,
promises, and by concealment of material facts.

4. It was part of the scheme to defraud that Defendant Yinusa carried out
a business email compromise scheme that targeted and deceived employees of
Company A and National Bank of Commerce, into granting him access to Company
A’s bank accounts. After Defendant Yinusa obtained access to Company A’s bank
accounts, he initiated payments and transfers from those accounts to bank accounts
controlled by him or his co-conspirators.

5. It was further part of the scheme to defraud that on or about February
7, 2023, Defendant Yinusa gained unauthorized access to Individual T.D.’s business
email. After gaining access, Defendant Yinusa created filtering rules within the email
account that redirected new emails to a different email folder, which concealed the
fact that the email was compromised.

6. It was further part of the scheme to defraud that Defendant Yinusa,
using the compromised Company A email account, misrepresented himself to

employees of National Bank of Commerce as Individual T.D. Defendant Yinusa
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instructed the bank employees to grant access to Company A’s accounts to the
purportedly newly hired Director of Finance for Company A, Individual J.S. In
reality, Individual J.S. had no connection to Company A. Defendant Yinusa
misappropriated Individual J.S.’s identity for use in carrying out his fraudulent
scheme. In response to Defendant Yinusa’s request, National Bank of Commerce
asked Company A to complete a form to grant Individual J.S. full access to the bank
accounts.

7. It was further part of the scheme to defraud that on or about February
9, 20283, Defendant Yinusa, using the compromised Company A email account and
misrepresenting himself as Individual T.D., emailed a completed form to National
Bank of Commerce granting Individual J.S. access to Account 5038 and Account 7118.
In support of this form, Defendant Yinusa provided a fraudulently obtained West
Virginia driver’s license for Individual J.S. The license contained Individual J.S.’s
real date of birth, address, physical description, and driver’s license number.
Thereafter, National Bank of Commerce added Individual J.S. as an owner of
Company A’s bank accounts.

8. It was further part of the scheme to defraud that Defendant Yinusa,
misrepresenting himself as Individual J.S., used the changes in access to the
Company A accounts to initiate ACH transfers from Company A’s accounts to

accounts he controlled, including:
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a. On or about February 14, 2023, an attempted ACH transfer of
approximately $109,302 was sent from Account 5038 to an account controlled by the
defendant and/or his co-conspirators.

b. On or about February 16, 2023, an attempted ACH transfer of
approximately $80,600 was sent from Account 5038 to an account controlled by the
defendant and/or his co-conspirators.

C. On or about February 17, 2023, a successful ACH transfer of
approximately $102,930, was sent from Account 7118 to an account controlled by the
defendant and/or his co-conspirators.

d. On or about February 23, 2023, a successful ACH transfer of
approximately $125,000, was sent from Account 5088 to an account controlled by the
defendant and/or his co-conspirators.

9. On or about February 23, 2023, Individual T.D. realized that Individual
T.D.’s email had been compromised by an unauthorized actor, and that fraudulent
transfers had been initiated from Account 5038 and Account 7118.

10. In all, defendant Yinusa and his co-conspirators fraudulently obtained
more than $227,000 from Company A.

All in violation of Title 18, United States Code, Section 1349.

Counts 1-4
(Wire Fraud)

11. Paragraphs 1-10 are realleged and incorporated herein.
12. From at least in or about February 2023, in the State and District of

Minnesota, and elsewhere, the defendant,
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MOJEED ADEROJU YINUSA,
and others known and unknown to the grand jury did knowingly devise and
participate in a scheme and artifice to defraud and to obtain money by means of
materially false and fraudulent pretenses, representations, and promises, and by
concealment of material facts.

13. On or about the dates listed below, in the State and District of
Minnesota and elsewhere, the defendant, as set forth below, for the purpose of
executing the scheme described above, knowingly caused to be transmitted by means
of a wire communication in interstate commerce, certain writings, signs, signals, and

sounds, including the following:

Count Date Wire Details
(on or about)
1 February 14, 2023 | An attempted $109,302.15 ACH transfer from
Company A to an account controlled by defendant
YINUSA and/or co-conspirators that passed
through servers located outside the state of
Minnesota

2 February 16, 2023 | An attempted $80,600.14 ACH transfer from
Company A to an account controlled by defendant
YINUSA and/or co-conspirators that passed
through servers located outside the state of
Minnesota

3 February 17, 2023 | A $102,930.40 ACH transfer from Company A to an
account controlled by defendant YINUSA and/or co-
conspirators that passed through servers located
outside the state of Minnesota

4 February 238, 2023 | A $125,000.23 ACH transfer from Company A to an
account controlled by defendant YINUSA and/or co-
conspirators that passed through servers located
outside the state of Minnesota

All in violation of Title 18, United States Code, Section 1343.
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Counts 5-6
(Aggravated Identity Theft)

14. On or about the dates set forth below, in the state and District of
Minnesota, and elsewhere, the defendant,
MOJEED ADEROJU YINUSA,
did knowingly use, without lawful authority, a means of identification of another
person during and in relation to a felony violation enumerated in 18 U.S.C.
§ 1028A(c), namely wire fraud in violation of 18 U.S.C. § 1348, knowing that the

means of identification belonged to another actual person.

Count | Date Name Employee Title

5 February 7, 2023 | Individual T.D. | Owner of Company A

6 February 9, 2023 | Individual J.S. | Purportedly newly hired Finance
Director of Company A

All in violation of Title 18, United States Code, Section 1028A.

Counts 7-8
(Computer Fraud)

15. On or about the dates set forth below, in the State and District of
Minnesota, the defendant,
MOJEED ADEROJU YINUSA,
knowingly and with intent to defraud, accessed a protected computer without
authorization, or exceeded authorized access, and by means of such conduct furthered

an intended fraud and obtained something of value, namely, accessing Company A
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servers, and National Bank of Commerce servers, to conduct fraudulent transactions

that were not authorized by the account holders, as described in further detail below:

Count | Date Unauthorized Access

7 February 7, 2023 Logged into Individual T.D.’s email without
authorization
8 February 14, 2023 | Logged into Company A’s bank accounts without
authorization

All in violation of Title 18, United States Code, Section 1030(a)(4).

Forfeiture Allegations

16. If convicted of any of Counts 1 through 4 of this Indictment, the
defendants shall forfeit to the United States, pursuant to Title 18, United States
Code, Section 981(a)(1)(C) and Title 28, United States Code, Section 2461(c), any
property, real or personal, which constitutes or is derived from proceeds traceable to
the violations of Title 18, United States Code, Section 1348.

17. If convicted of any of Counts 7 through 8 of this Indictment, the
defendants shall also forfeit to the United States, pursuant to Title 18, United States
Code, Section 982(a)(2), any property constituting, or derived from, proceeds the
person obtained directly or indirectly, as the result of the computer fraud in violation
of Title 18, United States Code, Section 1030(a), and pursuant to Title 18, United
States Code, Section 1030(1), any property, real or personal, constituting or derived
from, any proceeds obtained, directly or indirectly, as a result of the violations and
any personal property used or intended to be used to commit or facilitate the

commission of these violations, including any equipment, software, or other
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technology, used or intended to be used to commit, facilitate the commission of these
violations.

18. — If any of the above-described property is unavailable for forfeiture, the
United States intends to seek the forfeiture of substitute property as provided for in
Title 21, United States Code, Section 853(p), as incorporated by Title 28, United
States Code, Section 2461(c) and Title 18, United States Code, Sections 982(b) and

2328(b).

A TRUE BILL

ACTING UNITED STATES ATTORNEY FOREPERSON
